Case 1:19-cv-00917-RDA-WEF Document 810 Filed 02/29/24 Page 1 of 4 PageID# 15242




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

                                                       )
   B.R.,                                               )
                                                       )
                   Plaintiff,                          )
                                                       )       Civil No. 1:19-cv-00917-RDA-WEF
   v.                                                  )
                                                       )
   FAIRFAX COUNTY SCHOOL BOARD,                        )
   et al.,                                             )
                                                       )
                   Defendants.                         )


            JOINT STATEMENT REGARDING PROPOSED JUROR EXCLUSION

           Pursuant to the Court’s October 25, 2023 Order (ECF 475), Plaintiff B.R. and Defendants

  Fairfax County School Board, A.F., S.T., T.B., P.A.H., B.H., M.P.F., M.C., F.T. J.F., C.K., and

  J.O. (collectively “the Parties”) state as follow:

           1.     The Parties did not receive questionnaires for the following prospective jurors: 3,

  10, 18, 19, 23, 29, 33, 34, 38, 41, 45, 50, 52, 54, & 77.

           2.     The Parties agree that the following prospective jurors should be excused based on

  their responses to the questionnaire: 1, 2, 5, 7, 14, 15, 16, 24, 25, 31, 32, 42, 43, 44, 47, 49, 53,

  55, 56, 57, 59, 60, 61, 64, 68, 71, 73, 81, 82, 83, 87, 90, 94, & 98.

           3.     Plaintiff believes that the following prospective jurors should be excluded, while

  Defendants disagree: 9, 26, 76.

           4.     Defendants believe that the following jurors should be excluded, while Plaintiff

  disagrees: 21, 85, 96, 99.




                                                           1
Case 1:19-cv-00917-RDA-WEF Document 810 Filed 02/29/24 Page 2 of 4 PageID# 15243




  Dated: February 29, 2024                 Respectfully submitted,

   By: /s/ Alison L. Anderson              By: /s/ Ryan M. Bates
      Alison L. Anderson (Pro Hac Vice)       Ryan M. Bates (VSB No. 74661)
      BOIES SCHILLER FLEXNER LLP              Sona Rewari (VSB No. 47327)
      2029 Century Park East, Suite 1520      Scott W. Burton (VSB No. 90601)
      Los Angeles, CA 90067                   HUNTON ANDREWS KURTH LLP
      Telephone: (213) 629-9040               2200 Pennsylvania Avenue, NW
      Facsimile: (213) 629-9022               Washington, DC 20037
      alanderson@bsfllp.com                   Telephone: (202) 955-1500
                                              Facsimile: (202) 778-2201
      Andrew S. Brenner (Pro Hac Vice)        rbates@HuntonAK.com
      Brittany Zoll (Pro Hac Vice)            srewari@HuntonAK.com
      Robert G. Keefe (Pro Hac Vice)          burtons@HuntonAK.com
      Samantha Pedersen (Pro Hac Vice
      Pending)                                  Kevin S. Elliker (VSB No. 87498)
      BOIES SCHILLER FLEXNER LLP                HUNTON ANDREWS KURTH LLP
      100 SE 2nd Street, Suite 2800             951 Byrd Street
      Miami, FL 33131                           Richmond, VA 23219
      Telephone: (305) 539-8400                 Telephone: (804) 788-8200
      Facsimile: (305) 539-1307                 Facsimile: (804) 788-8218
      abrenner@bsfllp.com                       kelliker@hunton.com
      bzoll@bsfllp.com
      rkeefe@bsfllp.com                         Counsel for Defendant Fairfax County School
      spederson@bsfllp.com                      Board

      Jonathan L. Fahey (VSB No. 44854)    By: /s/ Michael E. Kinney
      HOLTZMAN VOGEL BARAN                    Michael E. Kinney (VSB #65056)
      TORCHINSKY & JOSEFIAK PLLC              MICHAEL E. KINNEY, PLC
      2300 N Street NW, Ste 643               1801 Robert Fulton Drive
      Washington, DC 20037                    Suite 120
      Telephone: (202) 737-8808               Reston, VA 20191
      jfahey@holtzmanvogel.com                Telephone: (703) 956-9377
                                              Facsimile: (703) 956-9634
      Counsel for Plaintiff B.R               mk@kinneyesq.com

                                                Counsel for Defendants A.F., S.T., T.B., P.A.H.,
                                                B.H., M.P.F, M.C., F.T., and J.F.




                                            2
Case 1:19-cv-00917-RDA-WEF Document 810 Filed 02/29/24 Page 3 of 4 PageID# 15244




                                      By: /s/ James F. Davis
                                         James F. Davis (VSB #41387)
                                         JAMES F. DAVIS, P.C.
                                         10513 Judicial Dr., Suite 200
                                         Fairfax, VA 22030
                                         Tel: (703) 383-3110
                                         Fax: (571) 748-6564
                                         jfd@jfdavislaw.com

                                           Counsel for Defendant C.K.

                                      By: /s/ James P. Miller
                                         James P. Miller (VSB # 89409)
                                         Bruce M. Blanchard (VSB # 23778)
                                         ODIN, FELDMAN, & PITTLEMAN, P.C.
                                         1775 Wiehle Avenue, Suite 400
                                         Reston, VA 20190
                                         Tel: (703) 218-2102 (Blanchard direct)
                                         (703) 218-2154 (Miller direct)
                                         Fax: (703) 218-2160
                                         Bruce.Blanchard@ofplaw.com
                                         Jim.Miller@ofplaw.com

                                           Counsel for Defendant J.O.




                                       3
Case 1:19-cv-00917-RDA-WEF Document 810 Filed 02/29/24 Page 4 of 4 PageID# 15245




                                      CERTIFICATE OF SERVICE

          I hereby certify that on February 29, 2024, I electronically filed this document with the

  Clerk of the Court using the CM/ECF system, which will send a notification of such filing (NEF)

  to counsel of record for all Parties.

                                          By: /s/ Ryan M. Bates
                                              Ryan M. Bates




                                                  4
